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                      fIN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


MCGARRY & MCGARRY, LLC,                       )
                                              )
                                 Plaintiff,   )
                                              )
                     v.                       )   Case No. 16 CV 8914
                                              )
BANKRUPTCY MANAGEMENT                         )
SOLUTIONS, INC.,                              )
                                              )
                              Defendant.      )

                                        COMPLAINT

       Plaintiff McGarry & McGarry, LLC (“McGarry”), by its undersigned attorneys, on

behalf of itself and those similarly situated, for its complaint against defendant

Bankruptcy Management Solutions, Inc. (“BMS”), alleges:

                                   Nature of this Action

        1.    McGarry is bringing this action because BMS has conspired with its two

largest competitors to fix the manner of charging Chapter 7 Bankruptcy Estates

(“Estates”) for bankruptcy software services. This conspiracy violated the Sherman Act,

15 U.S.C. § 1, and the Illinois Antitrust Act, 740 ILCS 10/3. Through this conspiracy,

that one Trustee has termed a “train robbery,” BMS has unlawfully extracted excessive,

if not exorbitant, fees from Estates, and cheated creditors out of millions of dollars.

                                  Jurisdiction and Venue

        2.    This Court has subject matter jurisdiction over the first claim in this action

pursuant to 28 U.S.C. §§ 1331 and 1337(a) because it arises under 15 U.S.C. §§ 1 and

15. The Court has subject matter jurisdiction over the second claim in this action
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pursuant to 28 U.S.C. § 1367 because that claim is so related to the claim within the

original jurisdiction of this Court that they form part of the same case or controversy

under Article III of the Constitution of the United States.

        3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because

this Court has personal jurisdiction over BMS.

        4.     This Court has personal jurisdiction over BMS pursuant to 735 ILCS 5/2-

209 because the claims asserted in this action arise out of BMS’s transaction of

business in this State.

                           The Parties and the Principal Actors

        5.     BMS is a corporation organized and existing under the laws of the State of

California, with its principal place of business in Irvine, California. BMS is the largest

provider of bankruptcy software services in the United States. In addition to bankruptcy

software services, BMS also provides ancillary services, such as data entry or check

preparation.

        6.     Epiq Systems, Inc. (“Epiq”) is a corporation organized and existing under

the laws of the State of Missouri, with its principal place of business in Kansas City,

Kansas. Epiq is the largest competitor of BMS in the national market for bankruptcy

software services.

        7.     TrusteSolutions, a division of Financial Software Solutions, LLC

(“TrusteSolutions”), is a limited liability company organized and existing under the laws

of the State of Texas, with its principal place of business in Houston, Texas.

TrusteSolutions is a smaller competitor of BMS in the national market for bankruptcy

software services.



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         8.    Rabobank, N.A. (“Rabobank”) is a banking corporation organized and

existing under the laws of the United States, with its principal place of business in

Roseville, California. Rabobank is, and since about November 2012 has been, the

bank in which BMS has required Chapter 7 Bankruptcy Trustees (“Trustees”) using

BMS bankruptcy software services to deposit all, or substantially all, of the funds of the

Estates that they administer.

         9.    Eugene Crane (“Crane”) is a member of the Panel of Chapter 7 Trustees

in this District. As a Trustee, Crane entered into contracts with both BMS and

Rabobank.

        10.    McGarry is a limited liability company organized and existing under the

laws of the State of Illinois, with its place of business in Chicago, Illinois. McGarry is a

law firm, and was a creditor of an Estate that Crane administered.

                                 Background of this Action

A.     Chapter 7 of the Bankruptcy Code

        11.    The filing of a petition under Chapter 7 of the Bankruptcy Code creates an

Estate. An Estate, in general terms, consists of the property of the debtor at the time of

the filing of the petition.

        12.    Upon the filing of such a petition, the Office of the United States Trustee, a

Division of the United States Department of Justice (“U.S. Trustee”), appoints a Trustee

to administer the Estate.

        13.    The Trustee is a fiduciary charged with protecting the interests of the

Estate. The principal duty of the Trustee is to collect and liquidate property of the




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Estate and to distribute the proceeds to creditors. The Trustee also has a duty to make

certain reports concerning the Estate to the U.S. Trustee and to the Bankruptcy Court.

B.    The National Market for Bankruptcy Software Services

       14.     Upon information and belief, since 1987, BMS has provided bankruptcy

software services to assist Trustees in meeting their reporting and other obligations.

Upon information and belief, BMS began as a spin-off of a bank that had provided free

bankruptcy software services to Trustees in exchange for their deposits of Estate funds

at the bank.

       15.     Upon information and belief, before 2000, BMS developed software to

assist Trustees in meeting their reporting and other obligations. Upon information and

belief, BMS secured copyright protection in this software, exercised reasonable

precautions to preserve the confidentiality of the source code for this software, and

updated this software over time. Upon information and belief, the competitors of BMS

have developed and maintained comparable software.

       16.     BMS has acquired market power – meaning the power to control prices –

in the market for bankruptcy software services to Trustees. The standard contract of

BMS with a Trustee allows BMS to set its fee, in BMS’s discretion, at any amount

permitted by law. The standard contract of BMS with a Trustee provides:

             “As permitted by law or your applicable regulatory authority, BMS, Bank or
      Financial Institution shall have the right to charge your account with a service fee
      via ACH debit or otherwise. Such fee shall be determined by BMS in its sole
      discretion, provided however, such fee shall in no case exceed the maximum
      service fee permitted by law or your applicable regulatory authority and shall be
      debited to your account(s) on a monthly basis for the preceding month.”
      (Emphasis added.)




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       17.   BMS has limited competition in the national market for bankruptcy

software services. Upon information and belief, as measured by the number of

Trustees in the United States, BMS has more than a 50 percent share, Epiq has about a

35 percent share and TrusteSolutions has less than a 15 percent share of the national

market for bankruptcy software services. Upon information and belief, Trustees do not,

at any one time, use more than one bankruptcy software service provider.

       18.   BMS requires its Trustees to deposit all, or substantially all, of the funds of

the Estates they administer using BMS bankruptcy software services at a bank that

BMS designates. Upon information and belief, at all relevant times in or before about

November 2012, BMS required its Trustees to deposit funds of the Estates they

administered using BMS bankruptcy software services at Bank of New York Mellon.

Upon information and belief, at all relevant times after about November 2012, BMS

required its Trustees to deposit funds of the Estates that they administered using BMS

bankruptcy software services at Rabobank. Upon information and belief, Rabobank

now holds all of the funds of the Estates of each Trustee that uses BMS bankruptcy

software services to administer an Estate. Upon information and belief, Rabobank

currently holds about $2,000,000,000 in deposits from Trustees who contract with BMS.

C.    Charging Fees for Combined Bankruptcy Software Services and
      Bankruptcy Banking Services Based Upon the Amount of Money in the Estate

       19.   Prior to the financial crisis that began in 2008, BMS did not charge fees for

bankruptcy software services directly to any Estate. Rather, BMS directed the Trustees

to deposit all of the funds of the Estates they administer in a selected bank, the bank

would earn money from the deposits of the Estates, and the bank would pay BMS a fee.

The bank would then pay interest to the Estate.

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       20.    As a result of the financial crisis that began in 2008, interest rates

declined. As a result of this decline in interest rates, the amount of money that the bank

could earn from the deposits of the Estates also declined, as did the bank’s ability to

pay BMS a fee.

       21.    Before January 2011, to increase its profits without providing any

additional services, BMS considered directly charging Estates a fee for bankruptcy

software services.

       22.    Upon information and belief, BMS considered charging that fee to Estates

in different ways, including on a (a) per Trustee basis, (b) per case basis, and (c) per

transaction basis, such as per report generated. However, upon information and belief,

BMS never charged a fee to any Estate or Trustee in any of these ways.

       23.    Before January 2011, BMS considered a non-traditional way of charging

its fees for bankruptcy software services. Specifically, BMS considered selling

bankruptcy software services only in combination with bankruptcy banking services and

directly charging Estates a fee for those combined services based upon a percentage of

the money in the bank account of the Estate.

       24.    Upon information and belief, BMS preferred this non-traditional way of

charging fees over the alternatives that BMS had considered. This non-traditional way

of charging fees would mask the extent to which BMS, as opposed to its bank,

ultimately received the fees. This non-traditional manner of charging fees would also

make it more difficult for the Trustees to determine whether the fee in any case was

modest, reasonable, or excessive.




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       25.    Upon information and belief, BMS understood that the marketplace would

accept this non-traditional manner of charging fees if, and only if, the three major

providers of bankruptcy software services – BMS, Epiq and TrusteSolutions – did not

charge for bankruptcy software services separately from the bankruptcy banking

services.

D.     The Conspiracy to Fix the Manner of Charging Fees

       26.    In or before January 2011, BMS proposed to Epiq and TrusteSolutions

that they, inter alia, sell bankruptcy software services only in combination with

bankruptcy banking services, and charge no fee to an Estate for those combined

services other than a percentage of the amount in the bank account of the Estate.

       27.    Epiq and TrusteSolutions each accepted this proposal of BMS, as detailed

in paragraphs 55 to 81 below.

E.     The Change in the Rule to Allow Trustees to Pay Bank Fees

       28.    Before January 2011, BMS understood that although the Bankruptcy

Court had authority to approve actual and necessary administrative expenses, charging

an Estate a fee for combined services could violate the rule of the U.S. Trustee that

prohibited Trustees from paying bank fees from Estate accounts.

       29.    BMS, Epiq and TrusteSolutions requested in or before January 2011 that

the U.S. Trustee suspend that rule, and allow Trustees to pay bank fees from Estate

accounts.

       30.    On or about April 29, 2011, the U.S. Trustee suspended its rule prohibiting

Trustees from paying bank fees from Estate accounts. The U.S. Trustee, however, did




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not approve any amount, or rate, for those fees, and did not approve any manner of

charging those fees.

F.     Execution of the Conspiracy to Fix the Manner of Charging Fees

       31.    After the U.S. Trustee suspended its rule prohibiting Trustees from paying

bank fees from Estate accounts, BMS, Epic and TrusteSolutions reaffirmed their

conspiracy described in paragraph 26 above.

       32.    After April 29, 2011, BMS, Epic, and TrusteSolutions acted on their

conspiracy to sell Estates bankruptcy software services only in combination with

bankruptcy banking services, and to charge no fee to an Estate for those combined

services other than a percentage of the amount in the bank account of the Estate.

       33.    After April 29, 2011, BMS and its selected bank entered into agreements

with Trustees that required an Estate to pay a combined fee for bankruptcy software

services and bankruptcy banking services based upon a percentage of the money in the

account of the Estate.

       34.    After April 29, 2011, BMS and its selected bank then began deducting as

a fee for those combined services a percentage of the money in the bank account of the

Estate.

       35.    Upon information and belief, after April 29, 2011, neither BMS, Epiq nor

TrusteSolutions has consistently charged a fee for bankruptcy software services on a

(a) per Trustee basis, (b) per case basis, or (c) per transaction basis, such as per report

generated.

       36.    Upon information and belief, pursuant to its conspiracy with Epiq and

TrusteSolutions, BMS continues to sell bankruptcy software services only in



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combination with bankruptcy banking services, and charges the Estate no fee for those

combined services other than a percentage of the amount in the bank account of the

Estate. Currently, with certain later developed minimums, BMS and Rabobank charge

fees at the rate of 1.75 percent, Epiq and its banks charge fees at the rate of 1.75

percent, and TrusteSolutions and its banks charge fees at the rate of 1.9 percent, of the

amount in the bank account of the Estate.

G.     The Contracts of BMS and Rabobank with Crane

       37.    Upon information and belief, on or before April 15, 2014, BMS entered into

a contract with Crane.

       38.    Upon information and belief, under Crane’s contract with BMS, Crane

promised to (i) deposit with Rabobank all, or substantially all, of the funds of any Estate

for which Crane used BMS bankruptcy software services, and (ii) allow Rabobank to

automatically withdraw, without any approval of the Bankruptcy Court or notice to

creditors, a monthly fee from Crane’s Estate accounts at Rabobank.

       39.    Upon information and belief, Rabobank thereafter entered into a contract

with Crane.

       40.    Upon information and belief, Crane’s contract with Rabobank authorized

Rabobank to automatically withdraw, without any approval of the Bankruptcy Court or

notice to creditors, a monthly fee from Crane’s Estate accounts.

       41.    The contracts that Crane entered into with BMS and Rabobank applied to

his subsequent appointments as a Trustee, even for Estates that did not exist at the

time of the execution of the contracts with BMS and Rabobank.




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H.     The Chapter 7 Petition of Integrated Genomics, Inc.

       42.   On May 4, 2011, Integrated Genomics, Inc. (“Integrated”) filed in the

Bankruptcy Court for this District, as Case No. 11-19086, a petition under Chapter 7 of

the Bankruptcy Code.

       43.   Upon the filing of the petition of Integrated, the U.S. Trustee appointed

Crane as the Chapter 7 Trustee of the Integrated Estate.

       44.   On or before March 24, 2014, Crane deposited the funds of the Integrated

Estate at Rabobank.

       45.   Prior to the closing of the Integrated bankruptcy case, Rabobank deducted

$514.16 from this account. Rabobank never paid any interest on the funds in the

account of the Integrated Estate.

       46.    McGarry, an unsecured creditor of the Integrated Estate, received from

the Integrated Estate $12,472.55 on McGarry’s allowed claim of $78,308.94.

       47.   Crane filed his final account and distribution report on April 14, 2014.

Shortly thereafter, the Integrated case ended and the Integrated Estate closed.

       48.   McGarry thereafter learned that Rabobank had deducted $514.16 from the

Integrated Estate’s account as a fee.

       49.   Upon information and belief, Rabobank paid most, if not all, of this amount

to BMS pursuant to their contract.

       50.   Neither Rabobank nor BMS had any permission from the Bankruptcy

Court to withdraw any funds from the Integrated Estate to pay either BMS or Rabobank.

       51.   The amount that Rabobank deducted in fees and, upon information and

belief, paid to BMS was greater than the amount of the fees that would have resulted in



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the absence of the conspiracy. Absent the overcharge of BMS for bankruptcy software

services resulting from the conspiracy, McGarry would have received a greater

distribution from the Integrated Estate.

                             A FIRST CLAIM FOR RELIEF
      (15 U.S.C. § 1 – Horizontal Conspiracy to Fix the Manner of Charging Fees)

       52.       McGarry repeats the allegations in paragraphs 1 to 51 above with the

same force and effect as if set forth in full.

I.     Violation of 15 U.S.C. § 1

       53.       BMS, Epiq and TrusteSolutions conspired to sell Estates bankruptcy

software services only in combination with bankruptcy banking services, and to charge

Estates no fee for those combined services other than a percentage of the amount in

the bank account of the Estate.

       54.       This conspiracy to fix the manner of charging fees for these services

constitutes a per se, or alternatively a rule of reason, violation of 15 U.S.C. § 1.

       A.        Direct Evidence of a Conspiracy

       55.       Upon information and belief, on or before January 14, 2011, BMS, Epiq

and TrusteSolutions communicated directly about selling bankruptcy software services

only in combination with bankruptcy banking services, and charging no fee to an Estate

for those combined services other than a percentage of the amount in the bank account

of the Estate.

       56.       Upon information and belief, on or before January 14, 2011, BMS sent a

written proposal to Epiq that proposed that providers of bankruptcy software services,

including BMS and Epiq, sell bankruptcy software services only in combination with

bankruptcy banking services, and charge no fee to an Estate for those combined

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services other than a percentage of the amount in the bank account of the Estate.

Upon information and belief, BMS directly or indirectly communicated this written

proposal, or the substance of it, to TrusteSolutions.

       57.    On or about January 14, 2011, Epiq responded to the proposal of BMS in

a document entitled “Chapter 7 Industry Comments,” a copy of which is annexed as

Exhibit A. In that document, Epiq stated in part:

       “Epiq Systems’ Comments on Proposal by BMS / Bank of NY Mellon
       [Content redacted by U.S. Trustee pursuant to 5 U.S.C. § 552(b)(4)] This
       structure would promote future stability for trustees’ activities, and it
       features well reasoned characteristics:

          •   the amount of the fee moves automatically with changes to market interest
              rates
          •   the fee is assessed uniformly to all estate accounts
          •   the fee extinguishes itself automatically in normal interest rate
              environments
          •   the fee is earmarked to support the technology and case
              management services on which trustees rely for the orderly
              administration of their estates, and it is not a windfall for any market
              participant

          [Content redacted by U.S. Trustee pursuant to 5 U.S.C. § 552(b)(4)]

       Epiq Systems’ Proposal

       [Content redacted by U.S. Trustee pursuant to 5 U.S.C. § 552(b)(4)]

       While this approach would not solve the problems that collateralized deposits
       create on banks’ balance sheets, it would nevertheless avoid the pending
       disruption to estate administration that we believe may otherwise occur.”
       (Emphasis added.)

Epiq provided a copy of this document to the U.S. Trustee on or about January 18,

2011. Upon information and belief, Epiq also provided a copy to BMS.




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       58.     On January 21, 2011, Texas Capital Bank, on behalf of itself and

TrusteSolutions, proposed to the U.S. Trustee that the U.S. Trustee allow Trustees to

pay from the funds of Estates a fee for combined bankruptcy software services and

bankruptcy banking services based upon a percentage of the amount of money in the

bank account of the Estate. A copy of that proposal is annexed as Exhibit B. In that

proposal, Texas Capital Bank stated:

       “Due to the current interest rate environment financial institutions are able to
       secure deposits at virtually no operational cost. The current UST program
       requires a high level of operational support, including banking support, software
       support and hardware support to bankruptcy trustees to remain in compliance
       with the UST requirements to administer bankruptcy estates that cannot be offset
       solely by the value of deposits maintained. Therefore TCB will need to assess
       to the bankruptcy estates a monthly Custodial Fee as a percentage of
       balances maintained to offset the operational support provided. Depending
       on the level of operational support required and the interest rate environment
       TCB will annually adjust the Custodial Fee accordingly.” (Emphasis added.)

       59.     Upon information and belief, Texas Capital Bank, acting on behalf of itself

and TrusteSolutions, either directly or indirectly, communicated this information to BMS

and Epiq.

       B.      Circumstantial Evidence of a Conspiracy

             Structure of the National Market for Bankruptcy Software Services

       60.     The structure of the national market for bankruptcy software services

facilitates collusion. The services are homogeneous; the demand is inelastic; the prices

charged to Estates for the services can be determined from publicly filed reports of

Trustees; barriers to entry exist because of the software; and the number of competitors

is small.




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                       Communications Between the Three Firms

       61.    Upon information and belief, representatives of BMS, Epiq and

TrusteSolutions are, and at all relevant times have been, in regular communication.

Representatives of BMS, Epiq, and TrusteSolutions have attended conferences among

Bankruptcy Judges, Trustees and attorneys. Upon information and belief,

representatives of BMS, Epiq, and upon information and belief, TrusteSolutions, have

attended the bankruptcy related conferences sponsored by (i) The American

Bankruptcy Institute, (ii) The National Conference of Bankruptcy Judges, and (iii) The

National Association of Bankruptcy Trustees (“NABT”).

       62.    In or about July 25, 2012, the Chief Executive Officer of BMS, Steve

Coffey (“Coffey”), and a representative of Epiq, Scott Field, Esq. (“Field”), appeared

before the United States Bankruptcy Court for the Northern District of Ohio, in In re

Bradley & Michelle Dorfler, et al., Case No. 10-51411 (MSS) (Bnky. N.D. Oh.), to defend

the fees of BMS. The following ensued:

       “THE COURT: Okay. Mr. Coffey, you heard me – I’ll make sure your counsel
       doesn’t mind my asking you questions directly. You know, if I'm asking – if I start
       to veer into any trade secrets or confidential information, then simply say so.

       MR. COFFEY: I don’t think there will be a problem. Mr. Field is in the room and
       I don’t think we had a lot of secrets between us so that’s fine.” (Emphasis
       added.)

                        Announcement of Non-Price Competition

       63.    Upon information and belief, BMS, Epiq and TrusteSolutions do not

compete based upon price. In repeated filings with the Securities and Exchange

Commission, Epiq disclosed that it did not compete in the market for bankruptcy

software services based upon price. For example, in its Form 10K filed February 25,



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2011, Epiq represented that it did not compete in the market for bankruptcy software

services based upon price, stating:

      “eDiscovery

           The e-discovery market is highly fragmented, intensely competitive and
      rapidly evolving. Competitors include Electronic Evidence Discovery, Inc.,
      Fios, Inc., Kroll Ontrack (Altegrity Inc.), Attenex (FTI Consulting, Inc.), Autonomy
      ZANTAZ, Inc., Stratify, Inc. (Iron Mountain Incorporated), and Clearwell
      Systems, Inc. Competition is primarily based on the quality of service,
      technology innovations, and price.

      Bankruptcy

           Our bankruptcy segment competes in a more mature market. We are one of
      two primary providers in the Chapter 7 bankruptcy market, along with Bankruptcy
      Management Solutions, Inc.; and in the Chapter 11 bankruptcy market
      competitors include Kurtzman Carson Consultants LLC and The Garden City
      Group, Inc. In both the Chapter 7 and Chapter 11 markets there are also several
      smaller competitors. Competition is primarily based on quality of service and
      technology innovations. Competitors for our AACER® product include
      American InfoSource and LexisNexis® Banko® Solutions.

      Settlement Administration

           The primary competitors with our settlement administration segment are
      The Garden City Group, Inc., Rust Consulting, Inc., and Gilardi & Co LLC, as well
      as several smaller competitors. Competition is primarily based on the quality
      of service, technology innovations, and price.” (Emphasis added.)

      64.    Shortly after the decision of the U.S. Trustee to allow Trustees to pay

service fees from Estate accounts, BMS publicly announced that it would not negotiate

concerning fees with Trustees. BMS stated in a document that it publicly distributed in

or about June 2011:

      “Is the Service Fee Negotiable?
      A. No. In order to provide equal treatment in all bankruptcy cases, the Services
         Fee is based on a uniform rate as set forth above and is a condition of
         participation in the BMS program.”




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       65.    Upon information and belief, BMS, Epiq and TrusteSolutions have refused

to negotiate concerning fees with Trustees, with the exception of the limited discussions

involving a small group of Trustees in this District in or about late 2011, described in

paragraphs 70 and 71 below.

       66.    BMS has publicly encouraged Epiq and TrusteSolutions to refuse to

submit their fees to the Bankruptcy Court for approval on a per case basis. In In re

Nanodynamics, Inc., Case No. 09-13438 MJK (W.D.N.Y.), Coffey of BMS testified in a

declaration dated and filed September 12, 2011:

             “20. Finally, I would like to address another issue that was raised at the
       August 31, 2011 hearing with regard to the pricing for BMS Services. At the
       hearing, the Court noted that:

              ‘I do feel that the business model, pricing, in light of what you said, that’s
              not based on monthly activity, it’s not based on the burdens upon the
              service providers, it's based simply upon how many dollars are in an
              account . . . .’

       [Transcript, 30:21- 31:2].

               21.    The Court’s observation is essentially correct, but that should not
       affect the allowance of the BMS Service Fee as an administrative expense, for at
       least three reasons…. Where, as here, the trustee in the exercise of his
       discretion has determined that the foregoing requirements are satisfied, I am not
       aware of anything that requires that a claim be measured by any particular
       method, such as the (a) cost to the provider of providing the service; (b) the
       amount of the service actually used by the estate each day; or (c) the price at
       which a competitor might be willing to offer a similar product, albeit with a lower
       quality of service. If it were otherwise, then administrative expenses for things
       like a trustee's compensation under section 326(a), the UST’s quarterly fees, or
       even the rent paid by a trustee for a facility to store estate property, would all be
       subject to retrospective revaluation on an individual case basis. I would submit
       that under such a regime, few, if any, parties would be willing to do
       business with a chapter 7 trustee; BMS and BNY Mellon certainly would
       not.

             22.    Second, the BMS ‘flat’ percentage fee structure exists for a reason,
       much like the rate structures for trustee compensation, UST quarterly fees, and,
       say monthly premises rent, are ‘flat fee’ based, rather than being based [on] use

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       or activity levels. The reason is that no other structure is administratively feasible.
       BMS and BNY Mellon do business with hundreds of trustees across the nation,
       who collectively handle more than 50,000 ‘asset’ cases currently (in addition to
       hundreds of thousands of ‘no asset’ cases annually), it would be utterly
       impractical for BMS and BNY Mellon to negotiate hundreds, or thousands, of
       ‘one-off deals’ with individual trustees, based on the facts and circumstances of
       each case; the costs of evaluating, negotiating and monitoring so many unique
       contracts would by themselves be prohibitive, to both the trustees and to BMS
       and BNY Mellon. While the trustee services business may, if this interest
       rate environment continues, ultimately evolve to a different model, where
       pricing is based on a set schedule of fees and charges for numbers and
       types of transactions, at this point, that is simply not a business model that
       BMS and BNY Mellon are prepared to offer. When and if any other
       providers are willing to offer services under such a model, trustees of
       course have the ability to terminate their arrangements with BMS and BNY
       Mellon on 30 days notice, and to contract with such providers, to the extent
       that the trustees believe that they should do so in accordance with the exercise
       of their fiduciary duties.” (Emphasis added.)

       67.    On or about January 12, 2016, Jill Bauer, Managing Director of Trustee

and Fiduciary Services for Epiq, executed a declaration that BMS filed in In re On-Site

Sourcing, Inc., Case No. 09-10816 (RGM) (Bnky. E.D. Va.), that confirmed that

bankruptcy software service providers competed only in terms of market share and not

in terms of the manner of charging fees, stating in part:

       “I also agree that compensation issues challenging our industry have
       necessitated service providers to transition to alternative pricing models while
       also actively and aggressively competing with one another to capture market
       share.”

          Refusing to Charge Separately Despite Pressure from Bankruptcy Courts

       68.    BMS, Epiq and TrusteSolutions continued to sell Estates only combined

bankruptcy software services and bankruptcy banking services, despite the pressure

from certain Bankruptcy Courts to sell and charge for bankruptcy software services

separately.




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       69.    Beginning in the summer of 2011, Bankruptcy Courts in at least four

districts throughout the United States, including this District, addressed the issue of

whether Trustees should pay combined fees for bankruptcy software services and

bankruptcy banking services from Estate accounts.

       70.    In In re Canopy, Case No. 09-44943 (ERW) (Bnky. N.D. Ill.), the

Bankruptcy Court’s transcript of November 8, 2011, provided the following exchange

between the Bankruptcy Court and Trustee Gus Paloian (“Paloian”), concerning the

need to charge separately for, or unbundle, the bankruptcy software services and

bankruptcy banking services:

       “MR. PALOIAN: And so what we face now are the bundled services of Epic plus
       a bank.

       THE COURT: Okay. I think what we need is to unbundle it.

       MR. PALOIAN: Yeah, exactly, Judge. I couldn’t agree more. I’ve tried to do this.
       I’ve had these discussions. We’re not necessarily at the point. I have not been
       able to get a direct quote for just trustee/Epic software services.” (Emphasis
       added.)

       71.    To date, upon information and belief, Paloian still has not obtained

bankruptcy software services apart from bankruptcy banking services from BMS, Epiq

or TrusteSolutions.

               Withdrawal of Services in the Western District of New York

       72.    On September 7, 2011, the Bankruptcy Court for the Western District of

New York entered a standing order that vacated its prior order of June 7, 2011. The

June 7, 2011, order had given blanket approval for the payment of a combined fee for

bankruptcy software services and bankruptcy banking services. The September 7,




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2011, order provided that charges for bankruptcy software services would be

determined on a per case basis under 11 U.S.C. § 328, or any other applicable statute.

       73.   On October 31, 2011, BMS announced that it would withdraw, and later

withdrew, from providing bankruptcy software services to Trustees located in the

Western District of New York. Upon information and belief, BMS did not attempt before

withdrawing from that District to charge for its bankruptcy software services apart from

bankruptcy banking services, or to seek approval for its fees in the manner that 11

U.S.C. § 328 provides.

       74.   If BMS had provided bankruptcy software services to Trustees in the

Western District of New York, and sought approval of its fees as an administrative

expense as 11 U.S.C. § 328 provides, BMS would have earned revenue from cases

pending in the Western District of New York. Rather than provide bankruptcy software

services, seek compensation for those services pursuant to 11 U.S.C. § 328, and earn

revenue from bankruptcy cases pending in the Western District of New York, BMS

refused to provide those services in the Western District of New York. The decision of

BMS to refuse to provide those services in the Western District of New York in these

circumstances would have been contrary to the economic interests of BMS, but for its

conspiracy described above.

       75.   Upon information and belief, since January 2011, neither BMS, Epiq, nor

TrusteSolutions has charged separately for bankruptcy software services.

                                    Excessive Prices

       76.   Upon information and belief, BMS charged prices greater than the prices

that it would have been able to charge absent the unlawful conspiracy.



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      77.    Trustees have stated that the amounts that bankruptcy service providers

charge are excessive.

      78.    On or about February 16, 2011, a liaison committee of the NABT

represented in substance to the U.S. Trustee that a fee based upon an annual rate of

3% of the money in the bank account of the Estate would be excessive:

      “- A 3% annual fee is excessive. 3% is essentially the trustee fee on a large
      estate, which is typically earned over a number of years (assuming,
      hypothetically, three years, the bank depository fee would be 9% while the
      trustee commission for services rendered is limited to 3%).
      - Depositories would receive a windfall on multi-million dollar estates.
      - Even in small estates, where disputes (ie, appeals) result in the estate
      remaining open a number of years, the depository fee can easily dissipate 10 -
      15% of the assets of the estate.” (Emphasis added.)

      79.    On or about August 11, 2011, a Trustee from the District of Arizona wrote

to the members of the NABT:

      “Somehow it sort of feels like we are being taken to the cleaners and can’t do
      anything about it. We have become so dependent on the software that they can
      charge just about anything they want and what are we to do about it. Seems to
      me we need a REGULATOR to handle this and in my mind it should be the US
      Trustee. They need to step up and prevent this monopolizing by the BIG THREE
      and tell them what THEY think is a reasonable charge and that should be
      universally. An annual fee which we can spread among the estates pro rata like
      we do for the bond. This is a train robbery and our creditors are the ones
      that are being taken advantage of. While we get $60 a case, The BIG THREE
      (Epiq, BMS and Trustees Solution [sic]) gets to make hundreds of dollars per
      trustee per year just for providing SOFTWARE? Something doesn’t seem
      equitable!” (Emphasis added.)

      80.    On or about November 2, 2011, a Chapter 7 Trustee from this District

wrote to the NABT:

      “The problem is that we are looking in the wrong place for a solution. The
      problem is we need software and support to keep track of our cases and do our
      reports. We don’t need computers, printers, monitors, scanners, etc. from the
      software vendor. If the former model that provided all those perks is no longer
      sustainable, then we need to unbundle the package and pay for that which
      we need, not that which we want. The discussion should be with the software

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        vendors to unbundle and do away with the dedicated banking relationships.
        There is little to recommend our continued commitment to the banks, given
        their reaction to the problem and their opportunistic pricing which seems
        far beyond anything that is reasonably tied to their costs. (I have a case
        with $12 million in it and I simply do not think it costs BofA $60,000 to
        service that case).” (Emphasis added; original emphasis removed.)

        81.   Epiq has advised the Administrative Offices of the U.S. Courts that a fee

of 0.50% to 0.75% would be reasonable except in unique situations. In a memorandum

to the Administrative Offices of the U.S. Courts, Field of Epiq wrote on April 2, 2012:

        “Banks will not enter in to this business and wait for an order in the future
        authorizing the fee on a case-by-case basis or possibly risk disgorgement should
        a court determine them unreasonable. This does not mean that the judiciary
        needs to authorize the fees presently being charged by banks. The courts could
        authorize some smaller number they feel is ‘reasonable’ (such as 0.50% to
        0.75%) and then allow a bank to request a higher amount for unique
        situations.” (Emphasis added.)

II.     Standing

        82.   McGarry meets the constitutional requirements for standing because (i)

McGarry has sustained an injury in the form of an overcharge for bankruptcy software

services (ii) attributable to the violation of 15 U.S.C. § 1, because BMS has eliminated

competition in the manner of charging for its services, (iii) that a monetary judgment in

this action could remedy.

        83.   McGarry meets the statutory requirements for standing because Congress

intended that McGarry, and those similarly situated, would have a cause of action under

15 U.S.C. § 1 in these circumstances. McGarry is within the zone of interests that § 1

seeks to protect. The statute seeks to prevent injuries that result from the reduction of

competition. McGarry sustained an injury because BMS charged excessive fees to

Estates for bankruptcy software services. In addition, the violation of the statute was a



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proximate cause of the damages McGarry sustained. No one is any closer to the

damages that BMS caused than McGarry, and those similarly situated.

         84.   McGarry will efficiently enforce the antitrust law.

         85.   The amount of damages that McGarry has sustained is readily calculable,

once the trier of fact determines the amount of damages resulting from the unlawful

conspiracy, because those damages do not depend upon the expenses of the Trustee

or any other party.

III.     Damages

         86.   As a result of the anti-competitive activities of BMS in violation of 15

U.S.C. § 1 described above, McGarry has sustained damages to its business and

property in an amount to be determined by the trier of fact in this action.

         87.   McGarry is entitled to recover treble damages, and attorneys’ fees

pursuant to 15 U.S.C. § 15.

                             A SECOND CLAIM FOR RELIEF
        (740 ILCS 10/3 – Horizontal Conspiracy to Fix the Manner of Charging Fees)

         88.   McGarry repeats the allegations set forth in paragraphs numbered 1 to 85

above with the same force and effect as if set forth in full.

         89.   As a result of the anti-competitive activities of BMS in violation of 740

ILCS 10/3, McGarry has sustained damages to its business and property in an amount

to be determined by the trier of fact in this action.

         90.   Under 740 ILCS 10/7, McGarry is entitled to recover treble damages and

attorneys’ fees.




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                                  Class Action Allegations

      91.     McGarry repeats the allegations set forth in paragraphs numbered 1 to 90

above with the same force and effect as if set forth in full.

      92.     McGarry is bringing this action as a class action, pursuant to Federal Rule

of Civil Procedure 23, on behalf of itself and a class of persons similarly situated.

      93.     The class is defined as persons who received, or are entitled to receive,

proceeds of an Estate that paid fees to BMS, excluding (a) Trustees who have a

contract with BMS, (b) creditors who have received 100% of their claim, (c) for

purposes of the second claim only, persons not entitled to assert a claim under the

state statute identified in that claim, and (d) the judicial officers adjudicating this action

and any member of their immediate families.

      94.     The class is sufficiently numerous that joinder of all members is

impracticable. Upon information and belief, the class is comprised of at least hundreds

of persons.

      95.     There are questions of law and fact common to the class. These

questions include, among others: Did BMS enter into an unlawful conspiracy with Epiq

and/or TrusteSolutions in violation of 15 U.S.C. § 1?

      96.     The claims of McGarry are typical of the claims of the class.

      97.     McGarry will fairly and adequately protect the interests of the class. The

interests of McGarry are coincident with those of the remainder of the class. McGarry

is represented by competent counsel.

      98.     The questions of law and fact common to the class members predominate

over any questions affecting only individual members, and a class action would be



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superior to other available methods for fairly and efficiently adjudicating the

controversy.

       WHEREFORE, McGarry, individually and on behalf of those similarly situated,

demands judgment against BMS:

       (a)     Awarding judgment for compensatory damages in an amount to be

determined by the trier of fact in this action;

       (b)     Awarding judgment for treble damages;

       (c)     Upon certification of a class consisting of members whose Estates have

been overcharged, but who have not yet received a distribution from those Estates,

declaring that the alleged conspiracy is unlawful, until the effects of the conspiracy have

been purged;

       (d)     Awarding costs, including attorneys’ fees in this action pursuant to 15

U.S.C. § 15, and 740 ILCS 10/7, or otherwise; and

       (e)     Granting such other and further relief as to the Court seems just and

proper.
                                DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure and the Seventh

Amendment to the Constitution of the United States, McGarry hereby demands a trial by




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jury of all issues that are so triable.

Dated: September 14, 2016


                                               /s/ Marianne C. Holzhall
                                               Marianne C. Holzhall (#6204057)
                                               (mch@mcgarryllc.com)
                                               120 North LaSalle Street, Suite 1100
                                               Chicago, Illinois 60602
                                               (312) 345-4600

                                               Attorney for Plaintiff

Dunnegan & Scileppi LLC
350 Fifth Avenue
New York, New York 10118
(212) 332-8300,

                      Of Counsel.




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